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) v ~" ,.. _("'
Defena'anfs. )

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DEFENDANT’S MOTION TO WAIVE APPEARANCE AT REPORT DATE

AND TO PARTICIPATE VIA TELEPHONE CONFERENCE

Cornes now the Defendant, Chris Newton, by and through his counsel, and pursuant
to the Notice of Setting [Court File No. 2 l ], to hereby request that his appearance in Court at
the August 23, 2005, report date be waived and that his attorneys be permitted to participate
via telephone conference ln support of this motion, the Defendant would show as follows:

l. The Defendant lives and works in Cleveland, Tennessee, which is a distance
of more than five (5) hours from the Court;

2. The proceedings will not be materially affected by the participation of the
Defendant and his counsel by telephone conference;

3. The Defendant understands his right to be present and participate in these
proceedings in open court, but, in accordance With the Waiver of Personal Appearance filed
contemporaneously with this motion and incorporated herein by reference, desires to waive
his right to personally appear;

4. Counsel for the Defendant has consulted with the Government about this

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motion and represents to the Court that the Governinent does not oppose this motion;

5. That this request does not affect any deadline set forth under the Speedy Trial

Act, 18 U.S.C. § 3161, et seq., or under any order ofthis Court.

Respectfully subinitted,

SHUMACKER WIT'I` GAITHER &
WHITAKER, P.C.

By: i’i`v\¢.ih \" i/\/\AT"'J""('¢\.

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l 100 SunT st Bank Building

736 Market Street

Chattanooga, Tennessee 37402-4856
(423) 425-7000

Attorneysfor J. Christopher Newton

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of this pleading has been served
upon counsel for all parties at interest in this case by placing a true and exact copy of this
pleading in the United States Mail, with sufficient postage, and addressed to such counsel at
his or her office as indicated below:

Tiniothy R. DiScenza Bryan H. Hoss

Assistant U.S. Attorney Davis & Hoss

167 N. Main Street, Suite 800 508 East Sth Street

Clifford Davis F ederal Building Chattanooga, Tennessee 37403

Menrphis, Tennessee 38103

This the b day of July, 2005.

SHUMACKER WITT GAITHER &
WHITAKER, P.C.

By: i~h,r\l_}\. i/\/\v\'v S__

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CERTIFICATE OF COUNSEL

l hereby certify that on June 27, 2005, co-counsel Thornas Greenholtz conferred with
Assistant United States Attorney, Tiniothy DiScenza, by telephone regarding this motion. l
§ represent to the Court that the U.S. Attorney’s Office does not oppose this motion.

SHUMACKER WITT GAITHER &
WHITAKER, P.C.

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UNITED sTATE DRISTIC COUR - WTERN D'ST'CT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:05-CR-20205 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Hugh .l. l\/loore

SCHUMAKER WITT GAITHER & WH[TAKER, P.C.
736 Market St.

1100 Suntrust Bank Bldg.

Chattanooga, TN 37402--260

Tirnothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on l\/lcCalla
US DISTRICT COURT

